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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ORIENT OVERSEAS CONTAINER LINE,
 LTD.,
                                                        CASE NO. 1:22−CV−03089
                Plaintiff,
                                                        Honorable Harry D. Leinenweber
        v.

 BNSF RAILWAY COMPANY and
 BURLINGTON NORTHERN SANTA FE, LLC,

                Defendants.



              UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND

       Plaintiff Orient Overseas Container Line, LTD. (“OOCL”) hereby submits this unopposed

motion seeking a 14-day extension of the current motion-to-dismiss briefing schedule entered by

the Court on September 13, 2022 [Dkt #13].

       Defendants’ Motion to Dismiss was filed on September 13, 2022, and the Court

subsequently ordered that OOCL’s response be filed on or before October 11, 2022, and

Defendants’ reply on or before October 25, 2022. The parties are attempting to resolve this matter

and require additional time to discuss settlement. Accordingly, the parties have conferred and

Defendants do not object to a two-week extension of the current briefing schedule. Under the

contemplated extension, OOCL’s response would be due on or before October 25, 2022, and

Defendants’ reply would be due or before November 8, 2022. OOCL’s request is intended to

promote a resolution of this matter and not to delay or impede the proceedings before this Court.

       WHEREFORE, OOCL respectfully requests that the Court grant this Unopposed Motion

and extend the parties’ current motion-to-dismiss briefing schedule by 14 days as set forth herein.
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                                                      Respectfully submitted,


                                                      /s/ Trevor Illes
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                                                      Attorneys for Plaintiff Orient Overseas
                                                      Container Line, Ltd.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 29, 2022, a copy of the foregoing Unopposed Motion

for Extension of Time to Respond was filed electronically. Notice of this filing will be sent by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

system.



                                                      /s/ Trevor J. Illes




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